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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

MARTIN SCHNEIDER, SARAH DEIGERT,                   )   Case No. 4:16-cv-02200-HSG (KAW)
LAURIE REESE, THERESA GAMAGE,                      )
TIFFANIE ZANGWILL, and                             )   CLASS ACTION
NADIA PARIKKA, Individually and on                 )
Behalf of All Others Similarly Situated,           )
                                                   )   JOINT DISCOVERY LETTER
                               Plaintiffs,         )   CONCERNING DEFENDANT’S
                                                   )   RESPONSES TO PLAINTIFFS’
       v.                                          )   DISCOVERY
                                                   )
CHIPOTLE MEXICAN GRILL, INC., a                    )
Delaware Corporation,                              )
                                                   )
                               Defendant.          )
                                                   )
                                                   )

Plaintiffs Martin Schneider, Sarah Deigert, Laurie Reese, Theresa Gamage, Tiffanie Zangwill, and
Nadia Parikka (“Plaintiffs”), and Defendant Chipotle Mexican Grill, Inc. (“Defendant” or
“Chipotle”) (collectively, the “Parties”), attest that the Parties’ lead trial counsel met and conferred
on Thursday, March 2, 2017 via telephone and have complied with Section 9 of the Northern
District’s Guidelines for Professional Conduct regarding discovery.

Dated: March 9, 2017

 Respectfully submitted,                               Respectfully submitted,


 /s/ Charles C. Cavanagh                               /s/ Laurence D. King
 Charles C. Cavanagh                                   Laurence D. King
 MESSNER REEVES LLP                                    KAPLAN FOX & KILSHEIMER LLP
 Attorneys for Defendant                               Attorney for Plaintiffs
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        Plaintiffs brought consumer protection claims against Defendant for their misleading and
deceptive advertising and labeling that all of its food was “non-GMO,” when, in actuality, Chipotle
serves meat and dairy products sourced from animals raised on GMO feed and sells beverages that
are loaded with corn-syrup derived from GMO corn. Plaintiffs allege that Chipotle failed to
disclose this information to consumers, in violation of the consumer protection acts of California,
Florida, Maryland, and New York. See Class Action Complaint, filed April 22, 2016 [ECF No.
1]. Plaintiffs also allege unjust enrichment, misrepresentation, and for a declaratory judgment. Id.
In a decision dated November 4, 2016, the Court granted in part and denied in part Chipotle’s
motion to dismiss [ECF No. 36]. The Court granted the motion to dismiss the injunctive relief
claim, but otherwise denied the motion to dismiss the other claims.

       The Court entered a Revised Joint Proposed Partial Pretrial Schedule and Order on
December 15, 2016 [ECF No. 48], and a Stipulated Protective Order on February 2, 2017 [ECF
No. 51]. The parties have exchanged discovery, with additional discovery being conducted. Fact
discovery is scheduled to end July 21, 2017, with motions for class certification and summary
judgment scheduled to be filed no later than October 20, 2017. The Parties have had multiple meet
and confers concerning the issues below, but have not been able to come to resolution.

Defendant’s Response:

        The Magistrate’s Standing Order controls the format of the parties’ joint letter. Pursuant
to Paragraph 13 of the Standing Order, the letter shall contain only a cover page, a section setting
forth the unresolved disputes, and a detailed summary of each party’s position. Thus, Plaintiffs’
introductory paragraphs are improper. Furthermore, the content of Plaintiffs’ introductory
paragraphs are misleading. Conspicuously absent is the fact that, in March of 2013, Chipotle
became the first national restaurant chain to disclose which of its ingredients were likely to be
genetically-modified. On April 27, 2015, Chipotle announced that it achieved its goal of using
only non-GMO ingredients to prepare the food made in its domestic restaurants. However,
Chipotle has never claimed that all of its food is “GMO-free.” Moreover, Chipotle readily
discloses that its meat and dairy ingredients are sourced from animals that may have consumed
genetically-modified feed, and that its “non-GMO ingredients” representation does not extend to
the third-party beverages it sells.

       A.      Request for Production No. 1

        This Request seeks all documents produced by Chipotle in the lawsuit entitled Reilly v.
Chipotle Mexican Grill, Inc., No. 15-23425-Civ-COOKE/TORRES (S.D. Fla.). Defendant has
refused to produce the documents that were produced in Reilly, citing relevance, vagueness,
ambiguousness, and that the documents are subject to a protective order. However, it has produced
some documents that were produced in Reilly, and has also produced the deposition transcript of
plaintiff Reilly.

Plaintiffs’ Position

        Rule 26(b)(1) of the Federal Rules of Civil Procedure provides that discovery may be
obtained “that is relevant to any party’s claim or defense.” That encompasses “any matter that
bears on, or that reasonably could lead to other matters that could bear on, any issue that is or may
be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). “The party who
resists discovery has the burden to show that discovery should not be allowed, and has the burden
of clarifying, explaining, and supporting its objections.” Hatamian v. Advanced Micro Devices,
Inc., No. 14-cv-00226-YGR (JSC), 2015 WL 7180662, at *1 (N.D. Cal. Nov. 16, 2015) (citations
omitted).


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        The complaint filed in Reilly is essentially a verbatim copy of the complaint formerly filed
in the action entitled Gallagher v. Chipotle Mexican Grill, Inc., No. 3:15-cv-03952-HSG (N.D.
Cal.). The facts and claims at issue in Reilly are essentially the same as it is in this case: whether
Chipotle misled consumers when it stated that all of its food was “non-GMO” when, in actuality,
its meat and dairy ingredients were derived from animals that consumed GMOs and it served
drinks that contained GMOs. The discovery the Reilly plaintiff sought from Chipotle is clearly
relevant and responsive to the “issues at stake in the action.” Fed. R. Civ. P. 26(b)(1). Indeed,
Plaintiff Zangwill alleges a violation of the Florida Deceptive and Unfair Trade Practices Act, the
same claim plaintiff Reilly made in the Florida action. The documents produced by Chipotle and
the deposition transcripts of Chipotle’s witnesses in Reilly are all relevant and responsive, and
should be produced here.

        That Defendant cites the protective order in Reilly is irrelevant; Plaintiffs are seeking only
the documents Defendant produced and not the documents the plaintiff in Reilly produced. See In
re Oracle Sec. Litig., No. C-01-0988 MJJ (JCS), 2005 WL 6768164, *19 (N.D. Cal. Aug. 5, 2005)
(noting that relief is not necessary where the defendant “itself possesses the copies of the
documents at issue – indeed they are [defendant’s] documents”); Guest v. Carnival Corp., 917 F.
Supp. 2d 1242, 1246 (S.D. Fla. 2012) (rejecting protection from discovery where the documents
sought “are the Defendant’s own documents”). Moreover, given the clear overlap in both cases,
the production made by Defendant in Reilly would only advance the interests of judicial economy
by avoiding the wasteful duplication of discovery. Foltz v. State Farm. Mut. Auto Ins. Co., 331
F.3d 1122, 1131-32 (9th Cir. 2003). Indeed, Defendant’s argument is exactly the same here as it
was in Reilly: that no reasonable person would believe that “non-GMO” includes ingredients that
come from animals that feed on GMOs. Since Defendant already produced documents in Reilly,
a second production would be efficient and could potentially short circuit any further Requests
Plaintiffs may make upon Defendant. Finally, it is disingenuous for Defendant to use the relevancy
argument as both a sword and a shield. Here, Defendant produced the entire deposition transcript
for plaintiff Reilly, but then contends the rest of the documents it produced is confidential and
proprietary. Defendant cannot have it both ways. Given that the materials requested have already
been reviewed and produced in related litigation, there is little if any burden to a simple
reproduction.

        The definition of “relevancy” is broad; it encompasses “any matter that bears on, or that
reasonably could lead to other matters that could bear on, any issue that is or may be in the case.”
Oppenheimer, 437 U.S. at 351. The documents produced by Chipotle is Reilly is clearly relevant.
Plaintiffs’ final compromise as to these Requests is what they had proposed to Defendant:
Defendant should produce all documents and transcripts of their deponents, subject to any
designations of confidentiality pursuant to the Protective Order entered in this matter, that it
produced in Reilly.

Defendant’s Position

        Plaintiffs contend that, because the present action and Reilly share some factual similarities,
every document produced by Chipotle in Reilly is automatically relevant here. This is simply not
true. Reilly concerned a single plaintiff purporting to represent a distinct class of plaintiffs, whose
alleged claims arose during a distinct class period, and under a distinct combination of state
statutory and common law.

       Federal courts routinely reject overbroad, “cloned” discovery requests, such as RFP No. 1.

       For example, in Oklahoma, ex rel. Edmondson v. Tyson Foods, Inc., the plaintiffs requested
all documents made available by the defendant in a similar lawsuit. 2006 WL 2862216, at *1
(N.D. Ok. Oct. 4, 2006). The court held that similarities of subject matter do not require “carte
blanche production of all documents” produced in a previous lawsuit, nor is the relevancy of
                                                  2
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information “automatic.” Id. at *1-2. A district court in this Circuit came to an identical
conclusion in Chen v. Ampco Sys. Parking, where the plaintiff sought all documents produced by
the defendant in state court actions involving similar wage-and-hour claims. 2009 WL 2496729,
at *3 (S.D. Cal. Aug. 14, 2009); see also Capital Ventures Intern. v. J.P. Morgan Mortg.
Acquisition Corp., 2014 WL 1431124, at *2 (D. Mass. April 14, 2014) (rejecting “cloned
discovery” request as “overbroad and of speculative relevance”); Midwest Gas Serv., Inc. v.
Indiana Gas Co., 2000 WL 760700, at *1 (S.D. Ind. Mar. 7, 2000) (denying motion to compel
“cloned discovery” because “plaintiffs’ counsel must do their own work and request the
information they seek directly”).

        Similarly, in In re eBay Seller Antitrust Litig., the court refused to allow the plaintiffs’
counsel to arbitrarily review the defendant’s document production from a previous and related
case. 2010 WL 2836815, at *3-4 (N.D. Cal. July 19, 2010). Even though the documents were
already in the plaintiffs’ counsel’s possession, the court held that the plaintiffs’ proposal defied
the “prescribed, normal manner” of discovery. Id. at *4. Rather, it was the defendant’s “obligation
(and right) under federal discovery rules to make a reasonable and diligent search through all of
its documents—including, presumably, its [previous] document production—to locate documents
responsive to appropriate requests for production[.]” Id.

        Plaintiffs’ RFP No. 1 is a similar attempt to circumvent accepted discovery practice by
requiring Chipotle to make a wholesale production of documents without the requisite
determination of relevance.

        Plaintiffs’ request also finds no support in the fact that Chipotle produced the transcript of
Leslie Reilly with its initial disclosures. The deposition transcript of the named plaintiff is not a
“document produced by Chipotle” in Reilly, and, therefore, the transcript is not even responsive to
Plaintiffs’ RFP No. 1. Nor are the transcripts of any other Reilly witnesses. Plaintiffs’ current
request for “transcripts of [Chipotle’s] deponents” was not included in RFP No. 1 and should not
be considered by the Court. 1

        Moreover, by producing Ms. Reilly’s transcript, Chipotle does not concede that Plaintiffs’
RFP No. 1 is proper, or that all documents produced in Reilly are also necessarily relevant in the
present matter. Chipotle produced the transcript – and other documents related to the Reilly matter
– as part of its initial disclosures, prior to receipt of Plaintiffs’ written discovery requests. Fed. R.
Civ. P. 26(a)(1)(A) requires a party to disclose all documents it “may use to support its claims or
defenses.” That Chipotle believed that it was obligated under this Rule to produce the transcript
and other documents from the Reilly matter has no bearing on the relevancy of the requested
information—that is, “all documents produced by Chipotle” in a previous litigation. Indeed,
Chipotle produced no documents in response to Plaintiffs’ overbroad and improper RFP No. 1. To
be clear, it is not Chipotle’s position that none of the documents produced in Reilly are relevant in
this case; but, rather, that not all of the documents produced are relevant. See Edmondson, 2006
WL 2862216, at *3. Because Plaintiffs’ blanket request fails to articulate any discernible basis for
relevance, it is improper.




1
  If the Court is inclined to agree that deposition transcripts created during the Reilly litigation are both responsive to
Plaintiffs’ request for “documents produced” in Reilly and relevant to this case, then Chipotle asks that Plaintiffs be
precluded from deposing the witnesses whose deposition transcripts are produced. If Plaintiffs are correct that every
fact or issue in Reilly is relevant here—indeed, “exactly the same” as Plaintiffs contend—then there would be no need
for Plaintiffs to re-depose the Reilly witnesses.

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       B.      Request for Production Nos. 17 and 18

        The Requests seek documents concerning Chipotle’s investigation or attempts to
investigate the accuracy and/or truthfulness of its Non-GMO claims, as well as documents that
support its statement that all of its ingredients are “only Non-GMO.” Defendant has refused to
produce any documents and stands by its objections, arguing that documents relating to Chipotle’s
attempts to investigate and support Chipotle’s non-GMO claims are irrelevant. Further, Defendant
argues that internal communications are not relevant as they are not “consumer-facing.” As well,
Defendant claims that the Requests are vague and ambiguous. Finally, Defendant claims that the
documents Plaintiffs seek are “confidential or proprietary.”
Plaintiffs’ Position

        Throughout this litigation, Chipotle asserts that no “reasonable person would expect and
understand that a restaurant claiming its food did not contain GMOs would not serve food from
animals fed with GMOs.” See, e.g., Answer of Defendant Chipotle Mexican Grill, Inc. to
Plaintiffs’ Class Action Complaint, filed December 1, 2016 (the “Answer”), ¶ 25 [ECF No. 40];
see also Notice of Motion and Motion of Defendant Chipotle Mexican Grill, Inc. to Dismiss the
Complaint, at 2:8-10, 18:12-19:5 [ECF No. 15]. Chipotle admits that “it had achieved its goals of
moving to only non-GMO ingredients to make all of the food in its domestic restaurants.” Answer
¶ 32. And, Defendant “denies that its conduct has been misleading or deceptive.” Id. ¶ 44.

        Plaintiffs’ Requests go to Defendant’s knowledge and seek the most rudimentary of
information related to Chipotle’s decision to market its food as non-GMO. Here, Defendant cannot
seriously contend that these Requests – or Chipotle’s internal communications – are irrelevant.
Indeed, Plaintiffs claim that Defendant’s campaign focused on commonly deceiving the public,
and Plaintiffs should be able to discovery to what extent Defendant knew that its marketing would
be misleading to reasonable consumers and how it developed a common plan to employ that
marketing scheme that will assist the Court in determining the upcoming class certification motion.
It is also imperative these documents be produced promptly so the Parties can proceed with
depositions of Defendant’s pertinent corporate representatives and witnesses. These documents
are relevant and responsive to Plaintiffs’ claims and, accordingly, should be produced. Fed. R.
Civ. P. 26(b)(1).

        While Defendant claims that such information is “confidential or proprietary,” Plaintiffs
find the objection unreasonable. There is a protective order entered by the Court, which governs
the issue of confidential and/or proprietary documents. See Cabrera v. Gov’t Employees Ins. Co.,
No. 12-61390-CIV, 2014 WL 2999206, at *9 (S.D. Fla. July 3, 2014) (overruling objections based
on confidentiality where a protective order is in place). And, where Defendant claims the Requests
are “vague and ambiguous,” the Court should reject those objections as Defendant has failed to
explain how the Requests are vague and ambiguous. Oakes v. Halvorsen Marine Ltd., 179 F.R.D.
281, 283 (C.D. Cal. 1998). In any case, there is nothing vague and ambiguous with these Requests.

        And, to the extent Defendant argues that the claims deal with “consumer facing” marketing
such that internal information is irrelevant, Plaintiffs note that “proof of scienter permits” a court
to “treble the damages” under New York consumer protection law. See Oswego Laborers’ Local
214 Pension Fund v. Marine Midland Bank, N.A., 85 N.Y.2d 20, 26 (1995) (citing N.Y. Gen. Bus.
Law § 349(h)). Similarly, Plaintiffs’ misrepresentation claim may also require demonstration of
Chipotle’s knowledge. Small v. Fritz Companies, Inc., 30 Cal. 4th 167, 173 (2003). Accordingly,
internal communications are relevant.

        Plaintiffs’ final compromise as to these Requests is what they had proposed to Defendant:
Defendant should produce all documents, including internal communications, concerning its
investigation or attempt to investigate the accuracy and/or truthfulness of its non-GMO claims and
                                                  4
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all documents that support its statement that its Food Products are made with “only non-GMO
ingredients.” Plaintiff has also offered to meet and confer on an appropriately tailored ESI protocol
for relevant custodians and search terms, but Chipotle has refused to negotiate at all.
Defendant’s Position

      Plaintiffs’ RFP Nos. 17 and 18, as propounded, seek information that is markedly different
from what Plaintiffs now contend is responsive.

        Specifically, RFP No. 17 requests all documents concerning Chipotle’s “investigation or
attempt to investigate the accuracy and/or truthfulness of [its] Non-GMO Claims.” RFP No. 18
requests all documents “supporting [Chipotle’s] statement that [its] Food Products are made with
‘only non-GMO ingredients.’” Plaintiffs did not request documents evidencing the “extent
[Chipotle] knew that its marketing would be misleading to reasonable consumers and how it
developed a common plan to employ that marketing scheme.” Nonetheless, this is the information
Plaintiffs insist they are entitled to. Chipotle is not required to intuit that Plaintiffs seek
information other than that which is plainly requested.

        As written, Plaintiffs’ requests are improper. Chipotle has admitted that its meat and dairy
products are derived from animals that may consume GMO feed, and that the soft drinks sold in
Chipotle stores may contain GMO ingredients. As such, documents relating to attempts to
investigate Chipotle’s non-GMO claims are irrelevant. Plaintiffs’ request for documents
“supporting” Chipotle’s non-GMO representations is an impermissible attempt to shift the burden
of substantiation to Chipotle. Under California law, prosecuting authorities may demand
substantiation of an entity’s advertising claims. See Cal. Bus. & Prof. Code § 17508. However,
it is well-settled that private plaintiffs may not. See National Council Against Health Fraud, Inc.
v. King Bio Pharm., Inc., 107 Cal. App. 4th 1336, 1345 (2003). Moreover, internal
communications that are not consumer-facing are also not relevant to Plaintiffs’ claims. In false
advertising cases such as this, it is the plaintiff’s reliance on a representation—not the
defendant’s—that is material and necessary to establish the element of causation.

        Finally, Plaintiffs’ requests are vague and overbroad because they do not describe the
category of items to be produced with reasonable particularity, as required by Fed. R. Civ. P.
34(b)(1)(A). “The test for reasonable particularity is whether the request places a party upon
reasonable notice of what is called for and what is not.” Mailhoit v. Home Depot U.S.A., Inc., 285
F.R.D. 566, 570 (C.D. Cal. 2012) (internal quotations omitted). Each request asks for “all
documents,” and then proceeds to delineate a number of discrete categories of information. Now,
Plaintiffs further request “internal communications.” For these reasons, RFP Nos. 17 and 18 are
the type of “all-encompassing demands” that do not conform to the reasonable particularity
requirement. Id.


Dated: March 9, 2017

 Respectfully submitted,                             Respectfully submitted,


 /s/ Charles C. Cavanagh                             /s/ Laurence D. King
 Charles C. Cavanagh                                 Laurence D. King
 MESSNER REEVES LLP                                  KAPLAN FOX & KILSHEIMER LLP
 Attorneys for Defendant                             Attorney for Plaintiffs



                                                 5
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                   EXHIBIT A
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11
                         UNITED STATES DISTRICT COURT
12
                       NORTHERN DISTRICT OF CALIFORNIA
13
14
15    MARTIN SCHNEIDER, et al.,                     )   Case No. 16-CV-02200
                                                    )
16
      individually and on behalf of all             )   DEFENDANT CHIPOTLE
      others similarly situated.                    )   MEXICAN GRILL, INC.’S
17                                                  )   RESPONSES TO PLAINTIFFS’
                                                    )   FIRST SET OF REQUESTS FOR
18                               Plaintiff,         )   PRODUCTION
                                                    )
19          v.                                      )
                                                    )
20                                                  )   Judge: Hon. Haywood S. Gilliam Jr.
      CHIPOTLE MEXICAN GRILL,                       )   Ctrm: 10 (San Francisco Courthouse)
21                                                  )
      INC., a Delaware corporation.
                                                    )
22                                                  )   Action Filed: April 22, 2016
                                 Defendant.         )   Trial Date: TBD
23
24
25
          PROPOUNDING PARTY:                  MARTIN SCHNEIDER, et al.
26
          RESPONDING PARTY:                   CHIPOTLE MEXICAN GRILL, INC.
27
          SET NUMBER:                         ONE
28

                                                1
                              CHIPOTLE MEXICAN GRILL, INC.’S RESPONSES TO
                             PLAINTIFFS’ REQUESTS FOR PRODUCTION, SET ONE
         Case 4:16-cv-02200-HSG Document 60 Filed 03/09/17 Page 9 of 13



 1
     may have consumed GMO feed and soda that may contain GMO high-fructose corn
 2
     syrup. Where appropriate and practical, Chipotle limits its responses and document
 3
     production to documents relating to its meat and dairy ingredients and those of the
 4
     third-party soft drinks that it serves that are likely to contain GMO high-fructose corn
 5
     syrup.
 6
              12.   Chipotle objects to the definition of “You” and “Your” on the grounds
 7
     that the definition is vague and overly-broad such that use of the term renders the
 8
     Requests unduly burdensome and oppressive and not proportional to the needs of this
 9
     case. Chipotle also objects to the extent that the definition purports to expand the
10
11
     obligations to search for, locate, and produce documents beyond the obligations

12
     under the Federal Rules of Civil Procedure. For example, the definition includes the

13 term “Defendant,” which incorporates the definition of “Chipotle,” which is itself
14 vague and overly-broad; the definition of “Chipotle” includes vague terms such as
15 “predecessors” and “all joint ventures” as well as broad terms such as “agents,”
16 “other entities operated or controlled by Chipotle” and “present or former
17 Employees” with “Employees” being a term with a similarly overbroad and vague
18 definition. In addition, the definition of “You” and “Your” confusingly includes
19 vague terms such as “any agent,” “custodian,” “attorney,” “representative” and “other
20 person(s) purporting to act on behalf of Defendant.”
21                    RESPONSES TO REQUESTS FOR PRODUCTION
22 REQUEST FOR PRODUCTION NO. 1:
23            All Documents produced by Chipotle in the lawsuit entitled Reilly v. Chipotle
24 Mexican Grill, Inc., No. 15-23425-Civ-COOKE/TORRES (S.D. Fla.).
25 RESPONSE: Chipotle objects to this Request on the grounds that it is overbroad and
26 requests the production of documents that are not relevant to any party’s claims or
27
     defenses. See Bundy v. Multnomah Cnty., 2006 WL 2519596, at *3 (D. Or. Aug. 27,
28
     2016). Chipotle further objects to this Request to the extent that it calls for the
                                                  9
                                CHIPOTLE MEXICAN GRILL, INC.’S RESPONSES TO
                               PLAINTIFFS’ REQUESTS FOR PRODUCTION, SET ONE
        Case 4:16-cv-02200-HSG Document 60 Filed 03/09/17 Page 10 of 13



 1
     production of documents that are, or that contain information that is, subject to a
 2
     protective order, confidential, or proprietary. See Foltz v. State Farm Mut. Auto. Ins.
 3
     Co., 331 F.3d 1122, 1132 (9th Cir. 2003); Hawley v. Business Computer Training Inst.,
 4
     Inc., 2008 WL 2048329, at *2 (W.D. Wash. May 9, 2008). Chipotle further objects to
 5
     this Request on the grounds that it is vague and ambiguous and does not adequately
 6
     describe the documents requested. Subject to the foregoing objections and to the
 7
     General Objections, Chipotle responds as follows: Chipotle produced with its Initial
 8
     Disclosures responsive and relevant documents not subject to a protective order.
 9
10
11
     REQUEST FOR PRODUCTION NO. 2:

12
           All Documents produced by Chipotle in the lawsuit entitled Pappas v. Chipotle

13 MexicanGrill, Inc., No. 16-cv-612 MMA (JLB) (S.D. Cal.).
14 RESPONSE: Chipotle objects to this Request on the grounds that it is overbroad and
15 requests the production of documents that are not relevant to any party’s claims or
16 defenses. See Bundy v. Multnomah Cnty., 2006 WL 2519596, at *3 (D. Or. Aug. 27,
17 2016).    Chipotle further objects to this Request to the extent that it calls for the
18 production of documents that are, or that contain information that is, subject to a
19 protective order, confidential, or proprietary. See Foltz v. State Farm Mut. Auto. Ins.
20 Co., 331 F.3d 1122, 1132 (9th Cir. 2003); Hawley v. Business Computer Training Inst.,
21 Inc., 2008 WL 2048329, at *2 (W.D. Wash. May 9, 2008). Chipotle further objects to
22 this Request on the grounds that it is vague and ambiguous and does not adequately
23 describe the documents requested. Subject to the foregoing objections and to the
24 General Objections, Chipotle responds as follows: Chipotle produced with its Initial
25 Disclosures responsive and relevant documents not subject to a protective order.
26
27
     REQUEST FOR PRODUCTION NO. 3:
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           Documents sufficient to identify the corporate organization of the Company.
                                                10
                               CHIPOTLE MEXICAN GRILL, INC.’S RESPONSES TO
                              PLAINTIFFS’ REQUESTS FOR PRODUCTION, SET ONE
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 1
     REQUEST FOR PRODUCTION NO. 17:
 2
           All Documents concerning Your investigation or attempt to investigate the
 3
     accuracy and/or truthfulness of Your Non-GMO Claims, including but not limited to
 4
     any testing, inspections, audits, and/or meetings with any third-party entity.
 5
     RESPONSE: Chipotle objects to this Request on the grounds that it is vague and
 6
     ambiguous and does not adequately describe the documents requested. Chipotle
 7
     further objects to this Request on the grounds that it is overbroad and requests the
 8
     production of documents that are not relevant to any party’s claims or defenses.
 9
     Chipotle further objects to this Request on the grounds that it is overbroad and requests
10
11
     the production of documents that are not relevant to any party’s claims or defenses

12
     insofar as it requests the production of documents relating to the overbroadly-defined

13 “Non-GMO Claims,” but Plaintiffs’ lawsuit relates only to Chipotle’s meat and dairy
14 ingredients and those of the third-party soft drinks that it serves that contain GMO
15 high-fructose corn syrup. Chipotle further objects to this Request to the extent that it
16 calls for the production of documents that are, or that contain information that is,
17 confidential or proprietary.
18
19 REQUEST FOR PRODUCTION NO. 18:
20         All Documents supporting Your statement that Your Food Products are made
21 with “only non-GMO ingredients” including, but not limited to, testing, reports,
22 recipes, and academic or scientific studies.
23 RESPONSE: Chipotle objects to this Request on the grounds that it is vague and
24 ambiguous and does not adequately describe the documents requested.                Chipotle
25 further objects to this Request on the grounds that it is overbroad and requests the
26 production of documents that are not relevant to any party’s claims or defenses.
27
     Chipotle further objects to this Request on the grounds that it is overbroad and requests
28
     the production of documents that are not relevant to any party’s claims or defenses
                                                23
                               CHIPOTLE MEXICAN GRILL, INC.’S RESPONSES TO
                              PLAINTIFFS’ REQUESTS FOR PRODUCTION, SET ONE
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 1
     insofar as it requests the production of documents relating to all of the overbroadly-
 2
     defined “Food Products,” but Plaintiffs’ lawsuit relates only to Chipotle’s meat and
 3
     dairy ingredients and those of the third-party soft drinks that it serves that contain GMO
 4
     high-fructose corn syrup. Chipotle further objects to this Request to the extent that it
 5
     calls for the production of documents that are, or that contain information that is,
 6
     confidential or proprietary.
 7
 8
     REQUEST FOR PRODUCTION NO. 19:
 9
           All Documents relating to any communications between You and any
10
11
     regulatory, governmental, or industry group relating to Your Non-GMO Claims.

12
     RESPONSE: Chipotle objects to this Request on the grounds that it is vague and

13 ambiguous and does not adequately describe the documents requested.               Chipotle

14 further objects to this Request on the grounds that it is overbroad and requests the
15 production of documents that are not relevant to any party’s claims or defenses.
16 Chipotle further objects to this Request on the grounds that it is overbroad and requests
17 the production of documents that are not relevant to any party’s claims or defenses
18 insofar as it requests the production of documents relating to the overbroadly-defined
19 “Non-GMO Claims,” but Plaintiffs’ lawsuit relates only to Chipotle’s meat and dairy
20 ingredients and those of the third-party soft drinks that it serves that contain GMO
21 high-fructose corn syrup. Chipotle further objects to this Request to the extent that it
22 calls for the production of documents that are, or that contain information that is,
23 confidential or proprietary. Chipotle further objects to this Request to the extent that
24 it calls for the production of documents that are, or that contain information that is,
25 protected from production by the attorney-client communication privilege and/or the
26 attorney work product doctrine. Subject to the foregoing objections and to the General
27
     Objections, Chipotle responds as follows: Chipotle is not presently aware of any
28
     responsive documents in its possession, custody, or control.
                                                24
                               CHIPOTLE MEXICAN GRILL, INC.’S RESPONSES TO
                              PLAINTIFFS’ REQUESTS FOR PRODUCTION, SET ONE
        Case 4:16-cv-02200-HSG Document 60 Filed 03/09/17 Page 13 of 13



 1
     attorney work product doctrine, particularly insofar as it as it requests the production
 2
     of documents relating to Affirmative Defenses Chipotle “intends” to assert. Subject to
 3
     the foregoing objections, Chipotle responds as follows: Chipotle produced with its
 4
     Initial Disclosures, and produces herewith, those documents that it presently believes
 5
     support its Affirmative Defenses. After the Court enters a protective order that
 6
     appropriately limits the control, use, and disposition of such documents, Chipotle will
 7
     produce additional relevant, responsive documents.
 8
 9
     Dated: January 31, 2017        MESSNER REEVES, LLP
10                                  SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
11
12                                  By
13                                         Charles C. Cavanagh
                                           Attorneys for Defendant
14
                                           Chipotle Mexican Grill, Inc.
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                               CHIPOTLE MEXICAN GRILL, INC.’S RESPONSES TO
                              PLAINTIFFS’ REQUESTS FOR PRODUCTION, SET ONE
